Case 1:17-cr-00154-MAC-ZJH Document 75 Filed 01/11/18 Page 1 of 2 PageID #: 192




                     IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TEXAS
                             BEAUMONT DIVISION

 UNITED STATES OF AMERICA                     §
                                              §
 v.                                           §   No. 1:17-CR-154(8)
                                              §   (Judge Zack Hawthorn)
 JASON WRIGHT                                 §

                        MOTION FOR DETENTION HEARING

        COMES NOW the United States and asks this Honorable Court to set the instant

 case for detention hearing under Title 18, United States Code, section 3141, et. seq., and

 would show the Court the following:

        1. The pending case involves:

        [ ]    (A)    A crime of violence.

        [ ]    (B)    An offense for which the maximum sentence is life imprisonment or
                      death.

        [X]    (C)    An offense for which a maximum term of imprisonment of ten years
                      or more is prescribed in the Controlled Substances Act, the
                      Controlled Substances Import and Export Act or Title 21, United
                      States Code, section 955(a).

        [ ]    (D)    A felony committed after the Defendant had been convicted of two
                      or more prior offenses described in Title 18, United States Code,
                      section 3142(f)(1)(A)(C) or comparable state or local offenses.

        [X]    (E)    A serious risk that the Defendant will flee.

        [ ]    (F)    A serious risk that the person will obstruct or attempt to obstruct
                      justice, or attempt to threaten, injure or intimidate a prospective
                      witness or juror.

        [ ]    (G)    The person was on release pending trial for a felony under State,
                      Federal or Local law; or was on probation or parole for an offense
                      under State, Federal or Local law.
Case 1:17-cr-00154-MAC-ZJH Document 75 Filed 01/11/18 Page 2 of 2 PageID #: 193




       [ ]   (H)    A felony that involves a minor victim.

       [ ]   (I)    A felony that involves the possession or use of a firearm or
                    destructive device or any dangerous weapon.

       [ ]   (J)    A felony that involves the failure to register under Title United
                    States Code, Section 2250.

       2.    No condition or combination of conditions will:

       [X]   (A)    Reasonably assure the appearance of the person as required.

       [X]   (B)    Reasonably assure the safety of the community or any other person.


       The Government requests that the Defendant be held without bond.


                                         Respectfully submitted,

                                         ALAN R. JACKSON
                                         UNITED STATES ATTORNEY


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